                Case 21-57519-bem                      Doc 1           Filed 10/07/21 Entered 10/07/21 11:29:11                         Desc
                                                                      Petition Page 1 of 59
 Fill in this information to identify your case:
                                                                                                         ASK PAW
                                                                                                         74f_    P T
 United States Bankruptcy Court for the:                                                                 .6Y GEttlitit A
 Northern District of Georgia
                                             EJ                                                                            AM 11: 19
                                                                                                   202 1 OCT -.7
 Case number (If known):                                           Chapter you are filing under:
                                                                   ler Chapter 7
                                                                   O Chapter 11
                                                                                                      titstim
            21-57519                                               • Chapter 12
                                                                   O Chapter 13
                                                                                                                      Y ti
                                                                                                                                       k if this is an
                                                                                                                                   amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 04/20

The :Ankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


I=            Identify Yourself

                                      About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

     Your full name
     Write the name that is on your
                                      BRITTNY
     government-issued picture
                                      First name                                                      First name
     identification (for example,
     your driver's license or
     passport).                       Middle name                                                     Middle name

     Bring your picture
                                      ROBINSON
     identification to your meeting   Last name                                                       Last name
     with the trustee.
                                      Suffix (Sr., Jr., II, III)                                      Suffix (Sr., Jr., II, Ill)




 2. All other names you
    have used in the last 8           First name                                                      First name
    years
     Include your married or          Middle name                                                     Middle name
     maiden names.
                                      Last name                                                        Last name


                                      First name                                                       First name


                                      Middle name                                                      Middle name


                                      Last name                                                        Last name




 3. Only the last 4 digits of
    your Social Security
                                      XXX       - xx                                                   XXX      — xx—

    number or federal                 OR                                                               OR
    Individual Taxpayer
    Identification number             9 xx - xx -                                                      9 xx - xx -
     (ITIN)

 Offic'al Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                 page 1
               Case 21-57519-bem                         Doc 1        Filed 10/07/21 Entered 10/07/21 11:29:11                                        Desc
                                                                     Petition Page 2 of 59

 Debtor 1        BRITTNY                                  ROBINSON                                    Case number (if known)
                  First Name   Middle Name              Last Name




                                             About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


 4. Any business names
    and Employer                             RI I have not used any business names or EINs.                 CI I have not used any business names or EINs.
    Identification Numbers
    (EIN) you have used in
    the last 8 years                         Business name                                                  Business name

        Include trade names and
        doing business as names              Business name                                                  Business name




                                             EIN                                                            EIN



                                             EIN                                                            EIN




1 5.    Where you live                                                                                      If Debtor 2 lives at a different address:



                                             3920 AUGUSTINE PLACE
                                             Number        Street                                           Number           Street




                                             REX                                  GA       30273
                                             City                                 State    ZIP Code          City                                     State     ZIP Code

                                             CLAYTON
                                             County                                                          County


                                             If your mailing address is different from the one              If Debtor 2's mailing address is different from
                                             above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                             any notices to you at this mailing address.                    any notices to this mailing address.



                                             Number         Street                                           Number          Street



                                             P.O. Box                                                        P.O. Box



                                             City                                 State    ZIP Code          City                                     State     ZIP Code




I 6. Why you are choosing                    Check one:                                                      Check one:
     this district to file for
        bankruptcy
                                             El Over the last 180 days before filing this petition,          CI Over the last 180 days before filing this petition,
                                                I have lived in this district longer than in any                    I have lived in this district longer than in any
                                                other district.                                                     other district.

                                             U I have another reason. Explain.                               U I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                              (See 28 U.S.C. § 1408.)




       Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                         page 2
                Case 21-57519-bem                          Doc 1    Filed 10/07/21 Entered 10/07/21 11:29:11                                   Desc
                                                                   Petition Page 3 of 59

 Debtor 1         BRITTNY                                  ROBINSON                                  Case number urkmwo)
                  First Name   Middle Name             Last Name




  Part 2:       Tell the Court About Your Bankruptcy Case


; 7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(6) for Individuals Filing
        Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
        are choosing to file
                                             ia Chapter 7
        under
                                             U Chapter 11

                                             O Chapter 12

                                             D Chapter 13

  8.    How you will pay the fee             •    will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                 local court for more details about how you may pay. Typically, if you are paying the fee
                                                 yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                 submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                 with a pre-printed address.

                                             ei I need to pay the fee in installments. If you choose this option, sign and attach the
                                                 Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             CI I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  s. Have you filed for                          No
     bankruptcy within the
     last 8 years?                           1:1 Yes. District                               When                     Case number
                                                                                                    MM/ DD / YYYY

                                                       District                              When                     Case number
                                                                                                     MM / DD / YYYY

                                                       District                              When                     Case number
                                                                                                    MM/ DD / YYYY




  to. Are any bankruptcy                     O No
      cases pending or being
      filed by a spouse who is                   Yes. Debtor                                                           Relationship to you
      not filing this case with                        District                              When                      Case number, if known
      you, or by a business                                                                         MM / DD / YYYY
      partner, or by an
      affiliate?
                                                       Debtor                                                          Relationship to you

                                                       District                              When                      Case number, if known
                                                                                                     MM / DD /YYYY



  it. Do you rent your                       0 No. Go to line 12.
      residence?                             0 Yes. Has your landlord obtained an eviction judgment against you?

                                                       O No. Go to line 12.
                                                       •    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                            part of this bankruptcy petition.




       Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
            Case 21-57519-bem                             Doc 1        Filed 10/07/21 Entered 10/07/21 11:29:11                                  Desc
                                                                      Petition Page 4 of 59

Debtor 1      BRITTNY                                      ROBINSON                                   Case number (if Mown)
              First Name        Middle Name             Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                    No. Go to Part 4.
    of any full- or part-time
    business?                                 0 Yes. Name and location of business
   A sole proprietorship is a
   business you operate as an
                                                       Name of business, if any
   individual, and is not a
   separate legal entity such as
   a corporation, partnership, or
                                                       Number       Street
   LLC.
   If you have more than one
   sole proprietorship, use a
   separate sheet and attach it
   to this petition.
                                                        City                                                  State           ZIP Code


                                                       Check the appropriate box to describe your business:
                                                       D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       LI Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                           None of the above


13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                         choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                      are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                              if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §                   0 No.    I am not filing under Chapter 11.
    1182(1)?                                     No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                        the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                              0 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                       Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                              0 Yes.   I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                       Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                     page 4
            Case 21-57519-bem                      Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                             Desc
                                                              Petition Page 5 of 59

Debtor 1      BRITTNY                               ROBINSON                                    Case number (if known)
              Fire Name     Middle Name           Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               id No
     property that poses or is
     alleged to pose a threat             U Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs                            If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property?
                                                                             Number        Street




                                                                             City                                        State   ZIP Code




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                            page 5
            Case 21-57519-bem                         Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                                          Desc
                                                                 Petition Page 6 of 59

 Debtor 1     BRITTNY                                   ROBINSON                                        Case number (if known)
              First Name     Middle Name             Last Name




 Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       "About Debtor 1:                                                        About Debtor 2 (Spouse Only. in a Joint Case):
1 15. Tell the court whether
      you have received a
      briefing about credit                You must check one:                                                 You must check one:
      counseling.
                                              I received a briefing from an approved credit                    Li I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                       counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                           certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                      Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                     plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you              Li I received a briefing from an approved credit                    CI I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                      counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                          certificate of completion.
    If you file anyway, the court             Within 14 days after you file this bankruptcy petition,               Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                                                                                      you MUST file a copy of the certificate and payment
                                              you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                         plan, if any.
    you paid, and your creditors
    can begin collection activities           I certify that I asked for credit counseling                      CI I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                            services from an approved agency, but was
                                              unable to obtain those services during the 7                         unable to obtain those services during the 7
                                               days after I made my request, and exigent                            days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                  of the requirement.

                                              To ask for a 30-day temporary waiver of the                           To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                       requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                     what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                     you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                              required you to file this case.                                       required you to file this case.
                                              Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.               still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                         You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                     developed, if any. If you do not do so, your case
                                              may be dismissed.                                                     may be dismissed.
                                              Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                              days.                                                                 days.

                                           CI I am not required to receive a briefing about                     CI I am not required to receive a briefing about
                                              credit counseling because of:                                        credit counseling because of:

                                              0 Incapacity.      I have a mental illness or a mental                Li   Incapacity. I have a mental illness or a mental
                                                                 deficiency that makes me                                            deficiency that makes me
                                                                 incapable of realizing or making                                    incapable of realizing or making
                                                                 rational decisions about finances.                                  rational decisions about finances.
                                              Li   Disability.   My physical disability causes me                   lj Disability.     My physical disability causes me
                                                                 to be unable to participate in a                                      to be unable to participate in a
                                                                 briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                 through the intemet, even after I                                     through the internet, even after I
                                                                 reasonably tried to do so.                                            reasonably tried to do so.
                                              CI Active duty. I am currently on active military                     CI Active duty. I am currently on active military
                                                              duty in a military combat zone.                                       duty in a military combat zone.
                                              If you believe you are not required to receive a                      If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




   Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                          page 6
             Case 21-57519-bem                     Doc 1           Filed 10/07/21 Entered 10/07/21 11:29:11                                Desc
                                                                  Petition Page 7 of 59
Debtor 1     BRITTNY                            ROBINSON                                           Case number (if known)
             First Name   Middle Name            Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                            O No. Go to line 16b.
                                            O Yes. Go to line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                            O No. Go to line 16c.
                                            O Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                          0 No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after 0 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                      id No
    administrative expenses
    are paid that funds will be       0 Yes
    available for distribution
    ts) unsecured creditors?

18. How many creditors do               0 1-49                                   0 1,000-5,000                              0 25,001-50,000
    you estimate that you               0 50-99                                    5,001-10,000                             0 50,001-100,000
    owe?                                  100-199                                0 10,001-25,000                            0 More than 100,000
                                          200-999

19. How much do you                        $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
    estimate your assets to                $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
    be worth?                              $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million                0 More than $50 billion
20. How much do you                        $0-$50,000                              $1,000,001-$10 million                   D $500,000,001-$1 billion
    estimate your liabilities              $50,001-$100,000                        $10,000,001-$50 million                      $1,000,000,001-$10 billion
    to be?                                 $100,001-$500,000                       $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million                0   More than $50 billion
Part 7:    Sign Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a ban I ptcy case can res tin fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.0     15      41, 1519,    3571.



                                           Signature of Debtor 1                                            Signature of Debtor 2

                                           Executed on             1                                        Executed on
                                                             MM    / DD /Y   Y                                              MM / DD    /YYYY


  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
                Case 21-57519-bem                    Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                           Desc
                                                                Petition Page 8 of 59
Debtor 'I     BRITTNY                          ROBINSON                                      Case number (if known)
              First Name   Middle Name           Last Name




For you if you are filing this           The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                    should understand that many people find it extremely difficult to represent
attorney                                 themselves successfully. Because bankruptcy has long-term financial and legal
                                         consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                  To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                  technical, and a mistake or inaction may affect your rights. For example, your case may be
                                         dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                         hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                         firm if your case is selected for audit. If that happens, you could lose your right to file another
                                         case, or you may lose protections, including the benefit of the automatic stay.

                                         You must list all your property and debts in the schedules that you are required to file with the
                                         court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                         in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                         property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                         also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                         case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                         cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                         Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                         If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                         hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                         successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                         Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                         be familiar with any state exemption laws that apply.

                                         Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                         consequences?
                                               No
                                         10 Yes

                                         Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                         inaccurate or incomplete, you could be fined or imprisoned?
                                         Ca No
                                         •     Yes

                                         Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                         ▪ No
                                         U Yes. Name of Person
                                                 Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                         By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                         have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                         attorn    ay cause me        e my rights or property if I do not properly handle the case.




                                             Signature of Debtor 1                                      Signature of Debtor 2

                                         Date                                                           Date
                                                             MM/ ID   /YYYY                                              MM/ DD / YYYY

                                         Contact phone                                                  Contact phone

                                         Cell phone                                                     Cell phone

                                         Email address                                                  Email address



   Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                               page 9
                           Case 21-57519-bem                     Doc 1    Filed 10/07/21 Entered 10/07/21 11:29:11                      Desc
                                                                         Petition Page 9 of 59
  Fill in this information to identify your case:


  Debtor 1                 BRITTNY                                 ROBINSON
                           First Name              Middle Name                Lest Name

  Debtor 2
  (Sp....ise, if filing)   First Name              Middle Name                Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
  (If known)                                                                                                                            U Check if this is an
                                                                                                                                          amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                    04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


  Part 1:            Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

         U Married
        Ei Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?
          No
        U Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                               Dates Debtor I   Debtor 2:                                          Dates Debtor 2
                                                                         lived there                                                         lived there


                                                                                          U   Same as Debtor 1                              U   Same as Debtor I


                                                                         From                                                                   From
                   Number               Street                                                Number Street
                                                                         To                                                                     To




                   City                          State ZIP Code                               City                   State ZIP Code


                                                                                          U   Same as Debtor 1                              U   Same as Debtor 1


                                                                         From                                                                   From
                   Number               Street                                                Number Street
                                                                         To                                                                     To




                   City                          State ZIP Code                               City                   State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
         LEr No
         U Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H),



   Part 2: Explain the Sources of Your Income

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 1
                  Case 21-57519-bem                          Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                                    Desc
                                                                       Petition Page 10 of 59
Debtor 1      BRITTNY                                         ROBINSON                                    Case number (if known)
                First Name      Middle Name             Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor I.

     1:1 No
           Yes. Fill in the details.




                                                               Sources of income           Gross income                 Sources of Income          Gross income
                                                               Check all that apply.       (before deductions and       Check all that apply.      (before deductions and
                                                                                           exclusions)                                             exclusions)

            From January 1 of current year until
                                                               id Wages, commissions,               38,000.00           U Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
            the date you filed for bankruptcy:
                                                               U    Operating a business
                                                                                                                    _
                                                                                                                        D Operating a business

            For last calendar year:
                                                               I0 Wages, commissions,                                   U Wages, commissions,
                                                                  bonuses, tips                     42,000.00             bonuses, tips
            (January Ito December 31 2020                    ) Li Operating a business                                  U Operating a business
                                              YYYY


                                                               Ig Wages, commissions,                                   U Wages, commissions,
            For the calendar year before that:
                                                                  bonuses, tips                      36,837.00              bonuses, tips
            (January 1 to December 31,2019                   ) U    Operating a business                                U   Operating a business
                                              YYYY




  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor I.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     RI No
     U     Yes. Fill in the details.



                                                               Sources of income           Gross income from              Sources of income        Gross income from
                                                               Describe below.             each source                    Describe below.          each source
                                                                                           (before deductions and                                  (before deductions and
                                                                                           exclusions)                                             exclusions)



             From January 1 of current year until
             the date you filed for bankruptcy:




             For last calendar year:

             (January 1 to December 31,2020              )
                                               YYYY




             For the calendar year before that:

             (January 1 to December 31,2019              )
                                               YYYY




 Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 2
                   Case 21-57519-bem                         Doc 1         Filed 10/07/21 Entered 10/07/21 11:29:11                        Desc
                                                                         Petition Page 11 of 59
Debtor 1      BRITTNY                                          ROBINSON                              Case number (if known)
               First Name       Middle Name              Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     U No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
           "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for baikruptcy, did you pay any creditor a total of $6,825* or more?

               •    No. Go to line 7.

               O Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     LI    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               •     No. Go to line 7.

               id Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                       creditor. Do not include payments for domestic support obligations, such as child support and
                       alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                           Dates Of                              Amount yoll still owe    Was this payment for...
                                                                           payment

                      PENNYMAC                                            09/21/2021   $          3,012.00 $              175,000.00      ad Mortgage
                       Creditors Name
                                                                                                                                             Car
                       01 BOX 514387                                      08/21/2021
                       Number    Street                                                                                                   U Credit card
                                                                          08/21/2021
                                                                                                                                          0 Loan repayment
                                                                                                                                          0 Suppliers or vendors
                       LOS ANGELES CA                     90061
                       City                   State           ZIP Code
                                                                                                                                          0 Other


                      SANTANDER                                           09/05/2021    $         1,731.00       $            16,653.00   0 Mortgage
                       Creditor's Name
                                                                                                                                          iCar
                      PO BOX 660633                                       08/05/2021
                       Number    Street
                                                                                                                                          0 Credit card
                                                                          07/21/2021
                                                                                                                                          CI Loan repayment
                                                                                                                                          0 Suppliers or vendors
                      DALLAS                   TX         75233                                                                           0 Other
                       City                   State           ZIP Code




                                                                                                                                          0 Mortgage
                       Creditors Name
                                                                                                                                              Car

                       Number    Street
                                                                                                                                          0 Credit card
                                                                                                                                          0 Loan repayment
                                                                                                                                          1:1 Suppliers or vendors
                       City                   State           ZIP Code
                                                                                                                                          0 Other



 Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 3
              Case 21-57519-bem                             Doc 1        Filed 10/07/21 Entered 10/07/21 11:29:11                                       Desc
                                                                       Petition Page 12 of 59

Debtor 1      BRITTNY                                                ROBINSON                        Case number (if known)
                  First Name       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

      El No
      El Yes. List all payments to an insider.
                                                                         Dates of    Total amount       Amount you still      Reason for this payment
                                                                         payment     paid               owe



           Insider's Name



           Number        Street




           City                                  State   ZIP Code




           Insider's Name


           Number        Street




           City                                  State   ZIP Code



 8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
      an insider?
      Include payments on debts guaranteed or cosigned by an insider.

      El No
      El Yes. List all payments that benefited an insider.
                                                                         Dates of     Total amount      Amount you still      Reason for this payment
                                                                         payment      paid              owe                   Include creditor's name



           Insider's Name



           Number         Street




           City                                  State   ZIP Code




           Insider's Name



           Number         Street




            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
               Case 21-57519-bem                            Doc 1        Filed 10/07/21 Entered 10/07/21 11:29:11                                    Desc
                                                                       Petition Page 13 of 59

Debtor 1       BRITTNY                                               ROBINSON                                 Case number (if known)
                First Name         Middle Name           Last Name




 "Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     Ei No
     CI    Yes. Fill in the details.
                                                                Nature of the case                      Court or agency                              Status of the case


            Case title                                                                                                                               O Pending
                                                                                                   Court Name

                                                                                                                                                     O On appeal

                                                                                                   'Number        Street                             O Concluded

            Case number
                                                                                                   !City                        State   ZIP Code




            Case title                                                                             !Court Name
                                                                                                                                                     O   Pending
                                                                                                                                                     O On appeal
                                                                                                   !Number        Street                             O   Concluded

            Case number
                                                                                                       CIty                     State   ZIP Code
                                                                                                   I
  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

     Ei No. Go to line 11.
           Yes. Fill in the information below.

                                                                          Describe the property                                          Date      Value of the property



                 Creditor's Name



                 Number      Street                                       Explain what happened

                                                                          •    Property was repossessed.
                                                                          O    Property was foreclosed.
                                                                          O    Property was garnished.
                 City                            State   ZIP Code         CI   Property was attached, seized, or levied.

                                                                          Describe the property                                          Date       Value of the propertl




                 Creditor's Name



                 Number      Street
                                                                          Explain what happened

                                                                               Property was repossessed.
                                                                               Property was foreclosed.
                                                                               Property was garnished.
                 City                            State   ZIP Code
                                                                               Property was attached, seized, or levied.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
                  Case 21-57519-bem                          Doc 1         Filed 10/07/21 Entered 10/07/21 11:29:11                                   Desc
                                                                         Petition Page 14 of 59

Debtor 1          BRITTNY                                            ROBINSON                              Case number (If known)
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     El No
     Li Yes. Fill in the details.

                                                                   Describe the action the creditor took                            Date action      Amount
                                                                                                                                    was taken
           Creditor's Name



           Number      Street




           City                           State   ZIP Code         Last 4 digits of account number: XXXX—


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     Er    No
     O Yes


MN                List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     10 No
     U Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600            Describe the gifts                                               Dates you gave      Value
             per person                                                                                                             the gifts




           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600              Describe the gifts                                               Dates you gave     Value
           per person                                                                                                               the gifts



           Person to Whom You Gave the Gift                    1




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
                     Case 21-57519-bem                       Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                                      Desc
                                                                       Petition Page 15 of 59
Debtor 1          BRITTNY                                     ROBINSON                                       Case number (If known)
                    First Name      Middle Name          Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

      •    No
      U Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                 Describe what you contributed                                           Date you
            that total more than $600                                                                                                   contributed




           Charity's Name




           Number        Street




           City            State      ZIP Code




IE.                 List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

      g No
      U Yes. Fill in the details.

            Describe the property you lost and                   Describe any insurance coverage for the loss                           Date of your    Value of property
            how the loss occurred                                                                                                       loss            lost
                                                               , Include the amount that insurance has paid. L,Ist pending insurance
                                                                 'claims on line 33 of ScheOleA/B: Property.
                                                                                 ,




             List Certain Payments or Transfers
1=11
 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
      Er Yes. Fill in the details.

                                                                 Description and value of any property transferred                      Date payment    Amount of payment
            monerysharp.org                                                                                                             transfer was
             Person Who Was Paid
                                                                                                                                        made
                                                               iCounseling
             Number        Street                                                                                                      I 09/21/2021                 10.00




             City                        State    ZIP Code



             Email or website address


             Person Who Made the Payment, if Not You



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
                Case 21-57519-bem                              Doc 1        Filed 10/07/21 Entered 10/07/21 11:29:11                                       Desc
                                                                          Petition Page 16 of 59

Debtor 1        BRITTNY                                                 ROBINSON                             Case number orknowo
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment


            Person Who Was Paid



            Number       Street




            City                        State    ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You



 17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     g     No
     LI    Yes. Fill in the details.

                                                                    Description and value of any property transferred               Date payment or        Amount of payment
                                                                                                                                    transfer was
                                                                                                                                    made
            Person Who Was Paid



            Number        Street




            City                         State   ZIP Code

  18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     g     No
     LI    Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made

            Person Who Received Transfer



            Number        Street




            City                        State    ZIP Code


            Person's relationship to you


            Person Who Received Transfer



            Number        Street




            City                        State    ZIP Code

            Person's relationship to you

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
               Case 21-57519-bem                            Doc 1          Filed 10/07/21 Entered 10/07/21 11:29:11                                      Desc
                                                                         Petition Page 17 of 59

Debtor 1       BRITTNY                                               ROBINSON                             Case number (irkrown)
                   First Name      Middle Name          Last Name




  9. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     1:1 No
     Li    Yes. Fill in the details.


                                                                Description and value of the property transferred                                          Date transfer
                                                                                                                                                           was made


           Name of trust




              List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     Var No
     0     Yes. Fill in the details.

                                                                    Last 4 digits of account number   Type of account or          Date account was       Last balance before   ,!
                                                                                                      instrument                  closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred

            Name of Financial Institution
                                                                    XXXX—                             0 Checking
            Number        Street
                                                                                                      O Savings
                                                                                                      0 Money market
                                                                                                      0 Brokerage
            City                        State
                                         +
                                                 ZIP Code
                                                                                                      0 Other

                                                                                                      O Checking
            Name of Financial Institution
                                                                                                      0 Savings
            Number        Street                                                                      0 Money market
                                                                                                      0 Brokerage
                                                                                                      0 Other
            City                        State    ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     RI No
     0 Yes. Fill in the details.
                                                                    Who else had access to it?                   Describe the contents                          Do you still
                                                                                                                                                                have it?

                                                                                                                                                                CI   No
            Name of Financial Institution                                                                                                                            Yes
                                                                Name


            Number        Street                                Number      Street


                                                                City          State     ZIP Code

             City                       State    ZIP Code



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
                  Case 21-57519-bem                            Doc 1          Filed 10/07/21 Entered 10/07/21 11:29:11                              Desc
                                                                            Petition Page 18 of 59

Debtor 1      BRITTNY                                                    ROBINSON                                      Case number 0'1..0
                   First Name      Middle Name              Last Name




22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
   El No
   U Yes. Fill in the details.
                                                 Who else has or had access to It?         Describe the contents                                           Do you still
                                                                                                                                                           have it?

                                                                                                                                                       I       No
           Name of Storage Facility                                 Name
                                                                                                                                                       I       Yes

           Number         Street                                    Number    Street



                                                                    CItyState ZIP Code


            City                        State    ZIP Code



                     Identify Property You Hold or Control for Someone Else

 23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.
    Er No
    U Yes. Fill in the details.
                                                                   Where is the property?                                   Describe the property     Value


            Owner's Name


                                                                  Number     Street
            Number        Street




                                                                  City                           State      ZIP Code
            City                        State     ZIP Code


                      Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
  a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
    utilize it or used to own, operate, or utilize it, including disposal sites.
  is   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

       El No
          Yes. Fill in the details.
                                                                   Governmental unit                            Environmental law, if you know it    bate of notice



           Name of site                                           Governmental unit


           Number       Street                                     Number    Street


                                                                   City                  State   ZIP Code



           City                        State     ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 10
               Case 21-57519-bem                            Doc 1            Filed 10/07/21 Entered 10/07/21 11:29:11                                           Desc
                                                                           Petition Page 19 of 59

Debtor 1      BRITTNY                                                ROBINSON                                      Case number (if known)
                   First Name      Middle Name          Last Name



 25.Have you notified any governmental unit of any release of hazardous material?

     Le' No
     D Yes. Fill in the details.
                                                               Governmental unit                               Environmental law, if you know It                     Date of notice



            Name of site                                      Governmental unit

            Number Street                                     Number Street


                                                              City                  State    ZIP Code

            City                        State    ZIP Code


 26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     El No
     U Yes. Fill in the details.
                                                                                                                                                                      Status of the
                                                                    Court or agency                                 Nature of the case
                                                                                                                                                                      Case

           Case title
                                                                                                                                                                      U   Pending
                                                                    Court Name
                                                                                                                                                                      U   On appeal
                                                                    Number Street                                                                                     U   Concluded


           Case number                                              City                    State   ZIP Code


 gart 11:             Give Details About Your Business or Connections to Any Business
  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           U A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U A partner in a partnership
           U An officer, director, or managing executive of a corporation

           U An owner of at least 5% of the voting or equity securities of a corporation

     El No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                             Employer Identification number
                                                                                                                                    Do not include Social Security number or !TIN.
            Business Name

                                                                                                                                    EIN:
            Number        Street
                                                                    Name of accountant or bookkeeper                                Dates business existed


                                                                                                                                    From                To
            City                         State   ZIP Code
                                                                    Describe the nature of the business                             Employer Identification number
                                                                                                                                    Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                    EIN:
            Number Street
                                                                    Name of accountant or bookkeeper                                Dates business existed


                                                                                                                                    From                To
            City                         State   ZIP Code

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 11
                  Case 21-57519-bem                    Doc 1         Filed 10/07/21 Entered 10/07/21 11:29:11                                     Desc
                                                                   Petition Page 20 of 59
Debtor 1      BRITTNY                                   ROBINSON                                        Case number (if known)
              First Name      Middle Name          Last Name



                                                                   --
                                                           Describe the nature of the business                          EftifiloYer Identification number
                                                                                                                        Do not Include Social Security number or ITIN.
           Business Name
                                                                                                                        EIN:

           Number    Street
                                                           Name of accountant or bookkeeper                               ates business existed
                                                                           •     • _               -


                                                                                                                        From                To
           City                    State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     1:1 No
     CI Yes. Fill in the details below.

                                                               Date issued



           Name                                                MM / DD / YYYY



           Number    Street




           City                     State   ZIP Code




                  Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. § 152, 1341, 1519, and 3571.




           Sig a re of Debtor 1                                                 Signature of Debtor 2


           Date                                                                 Date

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       Ig No
       0    Yes



       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       Er No
       CI Yes. Name of person                                                                                  . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                 Declaration, and Signature (Official Form 119).




 Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
                       Case 21-57519-bem                       Doc 1          Filed 10/07/21 Entered 10/07/21 11:29:11                                Desc
                                                                            Petition Page 21 of 59
Fill in this information to identify your case and this filing:


Debtor 1          BRITTNY                                      ROBINSON
                     First Name                  Middle Name                  Last Name

Debtor 2
(Spouse, if filing) First Name                   Middle Name                  Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
                                                                                                                                                  0   Check if this is an
                                                                                                                                                      amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
                                                                                                                                                                   411111.}102,191.111.t


1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    U No. Go to Part 2.
    Ei Yes. Where is the property?
                                                                        What is the property? Check all that apply.               ,
                                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                        •    Single-family home                           . the amount of any secured claims on Schedule D:
      1.1.    3920 AUGUSTINE PLACE                                                                                          : Creditors Who Have Claims Secured by Property.
                                                                        O Duplex or multi-unit building
              Street address, if available, or other description
                                                                        O Condominium or cooperative                        Current value of the      Current value of the
                                                                        O Manufactured or mobile home                       entire property?          portion you own?
                                                                        •    Land                                                  195,000.00                           0.00
                                                                        •    Investment property
              REX                             GA        30273                                                               Describe the nature of your ownership
                                                                        •    Timeshare
              City                            State      ZIP Code                                                           interest (such as fee simple, tenancy by
                                                                        •    Other                                          the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one.

              CLAYTON                                                   D Debtor 1 only
              County                                                        Debtor 2 only
                                                                        0 Debtor 1 and Debtor 2 only                        U Check if this is community property
                                                                                                                                (see instructions)
                                                                        D At least one of the debtors and another
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
    If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put
                                                                    O Single-family home                                    the amount of any secured claims on Schedule 0:
                                                                                                                            Creditors Who Have Claims Secured by Property.
       1.2.                                                         D       Duplex or multi-unit building
              Street address, if available, or other description
                                                                    •       Condominium or cooperative                      Current value of the      Current value of the
                                                                    O Manufactured or mobile home                           entire property?          portion you own?
                                                                    CI      Land
                                                                    LI      Investment property
                                                                                                                            Describe the nature of your ownership
              City                            State      ZIP Code
                                                                    D       Timeshare
                                                                                                                            interest (such as fee simple, tenancy by
                                                                    D       Other                                           the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    D Debtor 1 only
              County
                                                                    D Debtor 2 only
                                                                    Ij Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                    LI At least one of the debtors and another                  (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


 Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
                    Case 21-57519-bem                        Doc 1            Filed 10/07/21 Entered 10/07/21 11:29:11                                       Desc
                                                                            Petition Page 22 of 59
C ..btor 1      BRITTNY                                               ROBINSON                                Case number (if known)
                    First Name     Middle Name            Lest Name




                                                                      What is the property? Check all that apply.                 Do not deduct secured claims or exemptions. Put
                                                                      O      Single-family home                                   the amount of any secured claims on Schedule D:
     1.3.                                                                                                                         Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description       0      Duplex or multi-unit Wilding
                                                                      O Condominium or cooperative                                Current value of the     Current value of the
                                                                                                                                  entire property?         portion you own?
                                                                      •      Manufactured or mobile home
                                                                      O      Land
                                                                      O      Investment property
                                                                                                                                  Describe the nature of your ownership
             City                            State      ZIP Code      0      Timeshare
                                                                                                                                  interest (such as fee simple, tenancy by
                                                                      D      Other                                                the entireties, or a life estate), if known.

                                                                      Who has an interest in the property? Check one.

                                                                      0 Debtor 1 only
             County
                                                                      0 Debtor 2 only
                                                                      0 Debtor 1 and Debtor 2 only                                LI Check if this is community property
                                                                                                                                     (see instructions)
                                                                      0 At least one of the debtors and another
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:



2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                            0.00
  you have attached for Part 1. Write that number here.                                                                                              4




Part 2:        Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    0 No
        Yes


    3.1.     Make:                        C300                            Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:                       MERCEDE                         U Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                           2013                           0 Debtor 2 only
             Year:                                                                                                                 Current value of the     Current value of the
                                                                          0 Debtor 1 and Debtor 2 only                             entire property?         portion you own?
             Approximate mileage:                                         0 At least one of the debtors and another
             Other information:
                                                                                                                                            19,000.00       $                0.00
                                                                          0 Check if this is community property (see
                                                                             instructions)
                           _
    If you own or have more than one, describe here:

                                                                          Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
     3.2.    Make:
                                                                                                                                   the amount of any secured claims on Schedule D:
             Model:
                                                                          0 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                                          0 Debtor 2 only
             Year:                                                                                                                 Current value of the      Current value of the
                                                                          0 Debtor 1 and Debtor 2 only                             entire property?          portion you own?
             Approximate mileage:                                         0 At least one of the debtors and another
             Other information:
                                                                          0 Check if this is community property (see
                                                                             instructions)




 Official Form 106A/13                                                     Schedule A/B: Property                                                                   page 2
                Case 21-57519-bem                    Doc 1        Filed 10/07/21 Entered 10/07/21 11:29:11                                        Desc
                                                                Petition Page 23 of 59
Debtor 1        BRITTNY                                       ROBINSON                             Case number (if known)
                First Name       Middle Name      Last Name




           Make:                                              Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:
                                                              0 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                       Current value of the      Current value of the
                                                                 Debtor 1 and Debtor 2 only
                                                                                                                       entire property?          portion you own?
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                                 Check if this is community property (see
                                                                 instructions)


                                                              Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.4.    Make:
                                                                                                                       the amount of any secured claims on Schedule D:
                                                                 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
           Model:
                                                              0 Debtor 2 only
           Year:                                                                                                       Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only                             entire property?          portion you own?
           Approximate mileage:                               El At least one of the debtors and another
           Other information:
                                                                 Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
   D      Yes


                                                              Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   4.1.     Make:
                                                                                                                       the amount of any secured claims on Schedule D:
            Model:
                                                              0 Debtor 1 only                                          Creditors Who Have Claims Secured by Properly.
                                                              0 Debtor 2 only
            Year:
                                                              0 Debtor 1 and Debtor 2 only                              Current value of the     Current value of the
            Other information:                                0 At least one of the debtors and another                 entire property?         portion you own?


                                                              0 Check if this is community property (see
                                                                 instructions)



   If you own or have more than one, list here:
                                                              Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
   4.2.     Make:
                                                                                                                        the amount of any secured claims on Schedule D:
            Model:
                                                              0 Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                              U Debtor 2 only
            Year:                                                                                                       Current value of the     Current value of the
                                                              0 Debtor 1 and Debtor 2 only                              entire property?         portion you own?
            Other information:                                0 At least one of the debtors and another

                                                              0 Check if this is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                               0.00
   you have attached for Part 2. Write that number here                                                                                   4




 Official Form 106A/B                                          Schedule A/B: Property                                                                    page 3
               Case 21-57519-bem                   Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                             Desc
                                                             Petition Page 24 of 59
 Debtor 1      BRITTNY                                      ROBINSON                            Case number (if known)
               First Name    Middle Name        Lest Name




.Poit 3:    Describe Your Personal and Household Hems

                                                                                                                              Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured claims
                                                                                                                              or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   O No
   O Yes. Describe          [1 Couch, 1 chair, 3 bed, dishes, tables, stove, refrierator, dishes                                              2,000.00

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   • No
   O Yes. Describe          [1 cell, 3 TV's, 1 laptop, 1 printer                                                                               1,500.00

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   O No
   O Yes. Describe


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   O No
   O Yes. Describe


10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    O No
    O Yes. Describe

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   O No
   O Yes. Describe           clothes                                                                                                             500.00
                                                                                                                                $

12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
    0   No
    •   Yes. Describe
                                                                                                                                $
13. Non-farm animals
   Examples: Dogs, cats, birds, horses

    O No
    O Yes. Describe


14.Any other personal and household items you did not already list, including any health aids you did not list

    O No
    O Yes. Give specific
      information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                 4,000.00
    for Part 3. Write that number here                                                                                    4


 Official Form 106A/B                                       Schedule NB: Property                                                           page 4
              Case 21-57519-bem                       Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                                Desc
                                                                Petition Page 25 of 59
Debtor 1      BRITTNY                                          ROBINSON                       Case number yrhnovvn)
               First Name    Middle Name           Last Name




Part 4:    Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


   O No
   O Yes                                                                                                      Cash:



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
   O No
   LI   Yes                                                     Institution name:


                             17.1. Checking account:            bank of america                                                                       300.00

                             17.2. Checking account:

                             17.3. Savings account:

                              17.4. Savings account:

                              17.5. Certificates of deposit:

                             17.6. Other financial account:

                              17.7. Other financial account:

                              17.8. Other financial account:

                              17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

   O No
   •    Yes                   Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

    O No                      Name of entity:                                                                 % of ownership:
        Yes. Give specific                                                                                     0%
        information about
                                                                                                               0%
        them
                                                                                                               0%




 Official Form 106A/B                                           Schedule NB: Property                                                             page 5
             Case 21-57519-bem                         Doc 1         Filed 10/07/21 Entered 10/07/21 11:29:11                    Desc
                                                                   Petition Page 26 of 59
Debtor 1    BRITTNY                                              ROBINSON                      Case number (if known)
              First Name     Middle Name           Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory; notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   El No
   0 Yes. Give specific      Issuer name:
      information about
      them




21 Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   El No
   O Yes. List each
     account separately.     Type of account:          Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   4i No
   O Yes                                           Institution name or individual:
                             Electric:

                              Gas:

                             Heating oil:

                              Security deposit on rental unit:

                              Prepaid rent:

                              Telephone:

                              Water:

                             Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   El No
   O Yes                      Issuer name and description:




 Oificial Form 106A/B                                             Schedule A/B: Property                                            page 6
              Case 21-57519-bem                          Doc 1        Filed 10/07/21 Entered 10/07/21 11:29:11                                    Desc
                                                                    Petition Page 27 of 59
D^btor 1     BRITTNY                                              ROBINSON                           Case number (i( known)
               First Name    Middle Name              Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   El No
   O Yes                                 Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   El No
   CI   Yes. Give specific
        information about them....


26.Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   El No
   O Yes. Give specific
     information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   El No
   O Yes. Give specific
     information about them....
                                     I                                                                                                        $

Money or property owed to you?                                                                                                                Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.

28. Tax refunds owed to you
   El No
   O Yes. Give specific information                                                                                    Federal:
          about them, including whether
          you already filed the returns                                                                                State:
          and the tax years.
                                                                                                                       Local:



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

   la No
   O Yes. Give specific information
                                                                                                                      Alimony:
                                                                                                                      Maintenance:
                                                                                                                      Support:
                                                                                                                      Divorce settlement:
                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   El No
   O Yes. Give specific information




 Official Form 106A/B                                              Schedule NB: Property                                                                page 7
              Case 21-57519-bem                          Doc 1      Filed 10/07/21 Entered 10/07/21 11:29:11                                            Desc
                                                                  Petition Page 28 of 59
Debtor 1      BRITTNY                                            ROBINSON                              Case number (ir mom)
                First Name            Middle Name    Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   O No
   O Yes. Name the insurance company            Company name:                                             Beneficiary:                              Surrender or refund value:
          of each policy and list its value...,




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   O No
   D Yes. Give specific information



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   O No
   LI Yes. Describe each claim


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
   O No
   •   Yes. Describe each claim.
                                                                                                                                                  is
35. Any financial assets you did not already list

   •   No
   •   Yes. Give specific information
                                                                                                                                                    $
                                                    L.
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                                                                               300.00




Part 5:      Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   LI No. Go to Part 6.
   O Yes. Go to line 38.
                                                                                                                                                  Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                  or exemptions.

38.Accounts receivable or commissions you already earned
   LI No                     [....,
   D Yes. Describe


39.Office equipment, furnishings, and supplies
   Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
   O Yes. Describe




 Official Form 106AJB                                            Schedule NB: Property                                                                          page 8
                Case 21-57519-bem                      Doc 1      Filed 10/07/21 Entered 10/07/21 11:29:11                         Desc
                                                                Petition Page 29 of 59
Debtor 1    BRITTNY                                           ROBINSON                   Case number or known)
                First Name      Middle Name       Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   IJ No
   U Yes. Describe



41. Inventory
   U No
   U Yes. Describe



42. interests in partnerships or joint ventures
   U No
   U Yes. Describe             Name of entity:                                                             % of ownership:




43.Customer lists, mailing lists, or other compilations
   Li No
   LI Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            ip No
                  Yes. Describe. .....   T

44.Any business-related property you did not already list
   Li No
   U Yes. Give specific
     information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                      0.00
    for Part 5. Write that number here                                                                                  4


Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   • No. Go to Part 7.
   U Yes. Go to line 47.
                                                                                                                             Current value of the
                                                                                                                             portion you own?
                                                                                                                             Do not deduct secured claims
                                                                                                                             or exemptions.
41. Farm animals
   Examples:    Livestock, poultry, farm-raised fish
   ID No
   U Yes




 Official Form 106A/B                                          Schedule A/B: Property                                                     page 9
               Case 21-57519-bem                   Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                              Desc
                                                             Petition Page 30 of 59
Debtor 1      BRITTNY                                       ROBINSON                       Case number (if known)
                First Name        Middle Name   Last Name




48. Crops—either growing or harvested

   Li No
   O Yes. Give specific I
     information

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   El No
   O Yes



50. Farm and fishing supplies, chemicals, and feed

   1:1 No
   1:1 Yes



51.Any farm- and commercial fishing-related property you did not already list
   O No
   O Yes. Give specific 1
     information.............
                              1

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here                                                                                   4




Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

   lel No
   O Yes. Give specific I
     information




54. Add the dollar value of all of your entries from Part 7. Write that number here                                       4


Part 8:      List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2                                                                                          41$           0.00

56.Part 2: Total vehicles, line 5
                                                                                        0.00

57.Part 3: Total personal and household items, line 15
                                                                                 4,000.00

58.Part 4: Total financial assets, line 36
                                                                                      300.00

59.Part 5: Total business-related property, line 45
                                                                                        0.00

60.Part 6: Total farm- and fishing-related property, line 52
                                                                                        0.00

61.Part 7: Total other property not listed, line 54                   +$                0.00

62.Total personal property. Add lines 56 through 61.
                                                                                    4,300.00   Copy personal property total   4 +$      4,300.00


63.Total of all property on Schedule A/B. Add line 55 + line 62.
                                                                                                                                        4,300.00



 Official Form 106A/B                                       Schedule NB: Property                                                       page 10
                    Case 21-57519-bem                    Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11                              Desc
                                                                 Petition Page 31 of 59
 Fill in this information to identify your case:

 Debtor 1          BRITTNY                                 ROBINSON
                    First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                 Last Name


 United States Bankruptcy Court for the:Northern District of Georgia

 Case number                                                                                                                           0   Check if this is an
  (If known)
                                                                                                                                           amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                         04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                 Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      Er You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/8 that you claim as exempt, fill in the information below.


       Brief description of the property and              Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
       Schedule Al8 that lists this property              1:icIrtion you own
                                                          Copy the value from      Check only one box for each exemption.
                                                          Schedule A/8

      Brief                                                                                                                 44-13-100(01)
      description:
                              3920 Augustine PI            $195,000.00                 $ 20,000.00
      Line from                                                                    0   100% of fair market value, up to
      Schedule A/13:          11                                                       any applicable statutory limit


      Brief
                              2013 Mercedes Benz           $19,000.00                  $ 19,000.00                          44-13-100(03)
      description:
                                                                                   •   100% of fair market value, up to
      Line from
      Schedule A/8:                                                                    any applicable statutory limit

      Brief
                              Household Goods              $2,000.00               El $ 2,000.00                            44-13-100(04)
      description:
      Line from                                                                    O 100% of fair market value, up to
      Schedule A/13'                                                                 any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

      Er   No
      0    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           U       No
           O       Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                          page 1 of
             Case 21-57519-bem                     Doc 1      Filed 10/07/21 Entered 10/07/21 11:29:11                                     Desc
                                                            Petition Page 32 of 59
Debtor 1      BRITTNY                                  ROBINSON                                  Case number (if known)
              First Name        Middle Name    Lest Name




 Part 2:     Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim            Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule NB

     Brief
                                                                                                                          44-13-100(a)(4)
                           Electronics                           1,500.00          if $    1,500.00
     description:
     Line from             7                                                  0 100% of fair market value, up to
                                                                                     any applicable statutory limit
     Schedule A/B:
     Brief                                                                                                                44-13-100(a)(4)
     description:          Clothes                                  500.00    I's     500.00
     Line from
                                                                              0 100% of fair market value, up to
                           11                                                        any applicable statutory limit
     Schedule A/B:

     Brief                                                                                                                44-13-100(a)(6)
                           Bank of america                          300.00    Ef $     300.00
     description:
     Line from
                                                                              Li 100% of fair market value, up to
                           17                                                        any applicable statutory limit
     Schedule A/B:

      Brief
      description:                                                                   $

      Line from
                                                                               0 100% of fair market value, up to
      Schedule NB:                                                                   any applicable statutory limit

      Brief
      description:
      Line from
                                                                              CI 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule /VB.

      Brief
      description:                                                                    $
                                                                               O 100% of fair market value, up to
      Line from
                                                                                 any applicable statutory limit
      Schedule NB:

      Brief
      description:                                                             •      $

      Line from
                                                                               0 100% of fair market value, up to
      Schedule A/B:                                                                  • any applicable statutory limit

      Brief
      description:                                                                    $

      Line from
                                                                               CI 100% of fair market value, up to
      Schedule A/B:                                                                   any applicable statutory limit


      Brief
      description:                                                                    $
                                                                               O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                              any applicable statutory limit


      Brief
      description:                                                                    $
                                                                                      100% of fair market value, up to
      Line from
                                                                                      any applicable statutory limit
      Schedule NB:
      Brief
      description:                                                                    $
                                                                               O 100% of fair market value, up to
      Line from
                                                                                 any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                    $
                                                                                      100% of fair market value, up to
      Line from
                                                                                      any applicable statutory limit
      Schedule NB:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                          page   2   of
                     Case 21-57519-bem                         Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                              Desc
                                                                         Petition Page 33 of 59
Fill in this information to identify your case:

                  BRITTNY                                          ROBINSON
Debtor 1
                   First Name                Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name               Middle Name                       Last Name

United States Bankruptcy Court for the: Northern District of Georgia

Case number
(If known)                                                                                                                                      D Check if this is an
                                                                                                                                                   amended filing


Official Form 1060
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
   U No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   El Yes. Fill in all of the information below.


Part 1:        List All Secured Claims
                                                                                                                                                                  Column C
2. List all secured claims. It a creditor has more than Che secured claim, list the creditor separately                                            llateral       Unsecured
   for each claim. If more then       creditor has 'p particular claim, list the,he
                              , one ere                                                    IIn Part 2.                                             rts this       portion
                                          .
   As much as possible, list the          In alphabetical order Ico,9rding,t?.,t            me,                                                                   If any
                                 ciall1",
2.1                                                                                                                       $   175,000.00 $     195,000.00 $                0.00
       PENNYMAC                                        Describe the property that secures the claim:
       Creditor's Name
                                                      3920 Augustine Place
       1- 0 BOX 514387
       Number   Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                           O Contingent
       LOS ANGELES               CA      90051         LI       Unliquidated
       City                      State   ZIP Code          U Disputed

  Who owes the debt? Check one.                        Nature of Ilen. Check all that apply.
   O Debtor 1 only                                              An agreement you made (such as mortgage or secured
  CI    Debtor 2 only                                           car loan)
   O Debtor 1 and Debtor 2 only                            LI   Statutory lien (such as tax lien, mechanic's lien)
   O At least one of the debtors and another                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
   O     Check if this claim relates to a
         community debt
   Date debt was incurred                                  Last 4 digits of account number

                                                       Describe the property that secures the claim:                           16,653.00   $    19,000.00     $            0.00
       SANTANDER
                                                           —
       Creditor's Name
                                                      [2017 Mercedes Benz C300
       PO BOX 660633
       Number Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                           O Contingent
       DALLAS                    TX      75266             LI   Unliquidated
       City                      State   ZIP Code          LI Disputed

   Whn owes the debt? Check one.                           Nature of lien. Check all that apply.
   LI Debtor 1 only                                        tia An agreement you made (such as mortgage or secured
   •     Debtor 2 only                                          car loan)
   O Debtor 1 and Debtor 2 only                            •    Statutory lien (such as tax lien, mechanic's lien)

   O At least one of the debtors and another               LI   Judgment lien from a lawsuit
                                                           LI Other (including a right to offset)
   Cl Check if this claim relates to a
      community debt
   Date debt was incurred                                  Last 4 digits of account number

       Add the dollar value of your entries in Column A on this page. Write that number here:                             $   191,653.00


  Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of
                   Case 21-57519-bem                       Doc 1        Filed 10/07/21 Entered 10/07/21 11:29:11                                    Desc
                                                                      Petition Page 34 of 59
   Fill in this information to identify your case:

   Debtor 1          BRITTNY                                          ROBINSON
                      First Name                 Middle Name               Last Name

   Debtor 2
   (Spouse, if filing) First Name                Mkkee Name                Last Name


   United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                U Check if this is an
   Case number
      (If known)                                                                                                                                  amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
     the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule 0: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

                   List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
     LI Yes.
1 2. List all of your priority unsecured claims. If a creditor has More than one priority unsecured claim, list the creditor separately for each claim. For
     each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
     nonprlority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
     unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor fields a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction bOoklet.)
                                                                                                                                 Total claim   Priority    Nonpriority
                                                                                                                                               amount      amount
2.1
                                                                  Last 4 digits of account number                            $
          Priority Creditor's Name
                                                                  When was the debt incurred?
          Number          Street

                                                                  As of the date you file, the claim is: Check all that apply.
                                                                       Contingent
          City                          State     ZIP Code
                                                                  Li Unliquidated
          Who incurred the debt? Check one.                       U Disputed
          U . Debtor 1 only
          O Debtor 2 only                                         Type of PRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only                            Li Domestic support obligations
          ID At least one of the debtors and another              U Taxes and certain other debts you owe the government
          O Check If this claim is for a community debt           C3 Claims for death or personal injury while you were
          Is the claim subject to offset?                              intoxicated
          U No                                                    •    Other. Specify
              Yes
2.2                                                               Last 4 digits of account number
          Priority Creditor's Name
                                                                  When was the debt incurred?
          Number          Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  D Contingent
          City                          State     ZIP Code        • Unliquidated
          Who incurred the debt? Check one.                       U Disputed
          D Debtor 1 only
                                                                  Type of PRIORITY unsecured claim:
          • Debtor 2 only
                                                                  U Domestic support obligations
          O Debtor 1 and Debtor 2 only
                                                                  D Taxes and certain other debts you owe the government
          El At least one of the debtors and another
                                                                  U Claims for death or personal injury while you were
           O Check if this claim is for a community debt             intoxicated'
          Is the claim subject to offset?                         LI Other. Specify
          U No
          • Yes


  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                          page 1 of __
                     Case 21-57519-bem                              Doc 1    Filed 10/07/21 Entered 10/07/21 11:29:11                                                 Desc
     Debtor 1        BRITTNY                                              ROBINSON Page 35 of Case
                                                                           Petition           59 number (dom.')
                      First Name         Middle Name          Last war.
     Part 2:        List All of Your NUNPRIORITY Unsecured Claims

1. 3: Do any creditors have nonpriority unsecured claims against you?
         CI No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

I:   4.,..1.10:Al.of yolk nonpriority unsecured claims in the alphabetical order of the creditrir who holds each claim. If a creditor has more than one
         nonpriority Unsecured claim, list the.creditor separately for each Claim. For each Claim listed, identify what type of claim it is. Do not list claims already
         included in Part I. If more than one creditor holds a particular-claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
         claims fill out the Continuation Page of Part 2.

                                                                                                                                                                          Total claim
4.1
          DELTA CREDIT UNION                                                              Last 4 digits of account number               --                            $    .   13,000.00
          Nonprlority Creditors Name
                                                                                          When was the debt incurred?
          3250 RIVERWOOD PKWY
          Number            Street

          ATLANTA                                           GA            30339
          City                                              State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                          U Contingent
          Who incurred the debt? Check one.                                               •       Unliguidatecl
           CI Debtor 1 only                                                               D       Disputed
          U Debtor 2 only
          El Debtor 1 and Debtor 2 only                                                   Type of NONPRIORITY unsecured claim:
          El At least one of the debtors and another                                      U Student loans

           O Check if this claim is for a community debt
                                                                                          D       Obligations arising out of a separation agreement or divorce
                                                                                                  that you did not report as priority claims
          Is the claim subject to offset?                                                 D       Debts to pension or profit-sharing plans, and other similar debts
          D No                                                                            O Other. Specify
           0 Yes

                                                                                          Last 4 digits of account number ___                                                    4,000.00
 4.2      DISCOVER                                                                                                                                  —
           Nonprionty creditors Name                                                      When was the debt incurred?
          PO BOX 15316
           Number           Street
                                                            DE             19850          As of the date you file, the claim is: Check all that apply.
          WILMINGTON
           City                                             State         ZIP Code
                                                                                          •       Contingent
           Who incurred the debt? Check one.                                              •       Unliguidated
                                                                                          •       Disputed
           O Debtor 1 only
           U Debtor 2 only
                                                                                          Type of NONPRIORITY unsecured claim:
           O Debtor 1 and Debtor 2 only
           0 At least one of the debtors and another                                      D       Student loans
                                                                                          U Obligations arising out of a separation agreement or divorce
           O Check if this claim is for a community debt                                    that you did not report as priority claims
           Is the claim subject to offset?                                                O Debts to pension or profit-sharing plans, and other similar debts

           LI No
                                                                                          D       Other. Specify
           O Yes

           CREDIT ONE                                                                     Last 4 digits of account number                                                         3,200.00 .
           Nonpriority Creditor's Name
                                                                                          When was the. debt incurred?
           6801 S. CIMARRON RD
           Number           Street
           LAS VEGAS                                        NV             89193
                                                                                          As of the date you file, the claim is: Check all that apply.
           City                                             State         ZIP Code

                                                                                          •       Contingent
           Who incurred the debt? Check one.
                                                                                          •       Untiquidated
           D Debtor 1 only                                                                    •   Disputed
           D Debtor 2 only
           •      Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
           •      At least one of the debtors and another
                                                                                          LI      Student loans
           D Check if this claim is fore community debt                                   1.3 Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claim
           Is the claim subject to offset?
                                                                                          D Debts to pension or profit-sharing plans, and other similar debts
           U No
                                                                                              O Other. Specify
           CI Yes



 Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                          page_ of__
                   Case 21-57519-bem                            Doc 1      Filed 10/07/21 Entered 10/07/21 11:29:11                                       Desc
 Debtor 1           BRITTNY                                             ROBINSON Page 36 of 59
                                                                         Petition
                                                                                                            Case number tirkirosn)
                    Filet Name       Middle Name          Last Name


ri111              Your NONPRIORITY Unsecured Claims — Continuation Page
                                                                ,   —                                               39.115.112•AtInelimITMOILIMP




!' Niter:listing any entries on this page, number thembeginning with 4.4, follOWed by 4.5, and so forth.                                                         Total claim



4.4
                                                                                        Last 4 digits of account number _                          _                    250.00:
      CREDIT FIRST                                                                                                                                               $
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?
      PO BOX 81315
      Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      CLEVELAND                                         OH               44181
      City                                              State           ZIP Code        El   Contingent
                                                                                        •    Unliquidated
      Who incurred the debt? Check one.                                                 ij   Disputed
      ip Debtor 1 only
      Li Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      Li Debtor 1 and Debtor 2 only                                                     O    Student loans
      0       At least one of the debtors and another                                   D    Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      Li Check if this claim is for a community debt
                                                                                        •    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   D    Other. Specify
      U No
      El      Yes



4.5
      AMERICAN SIGNATURE                                                                Last 4 digits of account number                                          $       210.00!
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?
      PO BOX 965036
      Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       ORLANDO                                          FL               32896
       City                                             Slate           ZIP Code        U    Contingent
                                                                                        •    Un!iquidated
       Who incurred the debt? Check one.                                                O    Disputed
      Li Debtor 1 only
      Li Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
       13 Debtor 1 and Debtor 2 only                                                    El   Student loans
       Li At least one of the debtors and another                                       Li   Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                        O    Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  U Other. Specify
       •      NO
       U      Yes


                                                                                                                                                                 q.      900.00
                                                                                        Last 4 digits of account number                            _
      BANK OF AMERICA
       Nonpriority Creditor's Name
                                                                                        When was the debt incurred?
       PO BOX 982238
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       EL PASO                                          TX               79998
       City                                             State           ZIP Code        D    Contingent
                                                                                        •    Unliquidated
       Who incurred the debt? Check one.                                                D    Disputed
       ID Debtor I only
       Li Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
       Li Debtor 1 and Debtor 2 only                                                    Li   Student loans
       D At least one of the debtors and another                                        Li   Obligations arising out of a separation agreement or divorce that
                                                                                             you did erfireport as priority claims
       El     Check if this claim is for a community debt
                                                                                        O    Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   ..) Other. Specify
                                                                                        [-
       U No
       U Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __of
                     Case 21-57519-bem                               Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11                                                  Desc
    Debtor 1             BRITTNY                                            ROBINSON Page 37 of Case
                                                                             Petition           59 number                      (if knewn)
                         First Name       Middle Name           Last Name



  21
111                  Your NONPRIO RITY ,U7sec tired Claims — Contintiation Page
.                                          ,            .   ,.....---                                                                                          ••••••3.11.-




    After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                    Total claim


    4.7
                                                                                             Last 4 digits of account number ____                          _                  $      250.00
            W S BABCOCK
            Nonpriority Creditor's Name
                                                                                             When was the debt incurred?
            200 NPHOSPHATE BLVD
            Number             Street
                                                                                             As of the date you file, the claim is: Check all that apply.
            MULBERRY                                         FL              33860
            City                                             Slate          ZIP Code         U Contingent
                                                                                             •       Unliquidated
            Who incurred the debt? Check one.                                                U Disputed
            LI Debtor 1 only
            U Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
            U Debtor 1 and Debtor 2 only                                                     D       Student loans
            O At least one of the debtors and another                                        U Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
            D Check if this claim is for a community debt
                                                                                             O Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                                  Li Other. Specify
            D No
            0      Yes



    1,8_1   SPRINT
                                                                                             Last 4 digits of account number _              _    -     -
            Nonpriority Creditors Name
                                                                                             When was the debt incurred?
            6200 SPRINT PKWY
            Number             Street
                                                                                             As Of the date you file, the claim is: Check all that apply.
            OVERLAND PARK                                     KS             66251
            City                                             State          ZIP Code         LI Contingent
                                                                                             •  Unliquidated
            Who Incurred the debt? Check one.                                                LI Disputed
            D Debtor 1 only
            D. Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
            O Debtor 1 and Debtor 2 only                                                     D       Student loans
            D At least one of the debtors and another                                        D       Obligations arising out of a separation agreement or divorce that
                                                                                                     you did not report as priority claims
            O Check if this claim is for a community debt
                                                                                                 D   Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                                      U Other. Specify
            LI No
            ▪      Yes


    4.9
                                                                                                 Last 4 digits of account number                _ --
            ALCOA BILLING CENTER
            Nonpriority Creditor's Name
                                                                                             When was the debt incurred?
            3429 REGAL DR
            Number             Street
                                                                                                 As of the date you file, the claim is: Check all that apply.
            ALCOA                                             TN             37701
            City                                              State         ZIP Code             D   Contingent
                                                                                                 •   Unliquidated
            Who incurred the debt? Check one.                                                    U Disputed
            1:1 Debtor 1 only
            LI Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
            U Debtor 1 and Debtor 2 only                                                         O Student loans
            D At least one of the debtors and another                                            LI Obligations arising out of a separation agreement or divorce that
                                                                                                     you did not report as priority claims
             CI Check if this claim is for a community debt
                                                                                                 L-1 Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                                      U Other. Specify_
             LI No
            LI Yes




    Official Form 106E/F                                             Schedule EIF: Creditors Who Have Unsecured Claims                                                            page __of__
                      Case 21-57519-bem                            Doc 1    Filed 10/07/21 Entered 10/07/21 11:29:11                                               Desc
    Debtor 1          BRITTNY                                            ROBINSON Page 38 of 59
                                                                          Petition
                                                                                                               Case number (if known)



esi
                       First Name       Middle Name          Last Name



                   Your NONPRIORITY Unsecured Claims — Continuation Page
                                        --                                                                                                        •••••••••••••••••••••••



; After listing any entries on this page, number them beginning with 4.4, follqwed by 4.5, and so forth.                                                                    Total claim


[5.D                                                                                       Last 4 digits of account number --
         CREDIT COLLECTION SERVICE                                                                                                                                          $      270.00
         Nonpriority Creditor's Name
                                                                                           When was the debt incurred?
         725 CANTON ST
         Number              Street
                                                                                           As of the date you file, the claim is: Check all that apply.
         NORWOOD                                           MA             02062
         City                                              State         ZIP Code          D    Contingent
                                                                                                Unliquidatod
         Who incurred the debt? Check one.                                                 LI   Disputed
         U Debtor 1 only
                 Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
         LI Debtor 1 and Debtor 2 only                                                          Student loans
                 At least one of the debtors and another                                   D    Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
          •      Check if this claim is for a community debt
                                                                                           D    Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                   D    Other. Specify
          •      No
                 Yes


5.1
          WINDHAM PROFESSIONALS                                                            Last 4 digits of account number _                                                        200.00j.
          Nonpriority Creditor's Name
                                                                                           When was the debt incurred?
          380 MAIN ST
          Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
          SALEM                                            NH             03079
          City                                             State         ZIP Code          LI   Contingent
                                                                                           •    Unliquidated
          Who incurred the debt? Check one.                                                •    Disputed
                 Debtor 1 only
          U Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
          •      Debtor 1 and Debtor 2 only                                                •    Siudent loans
          0      At least one of the debtors and another                                   Ul Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
          Ei Check if this claim is for a community debt
                                                                                           U Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                  ID   Other. Specify
          LI No
          LI Yes

                                                                                                                                                                                   :000,00
                                                                                           Last 4 digits of account number
!         TIRES PLUS
          Nonprioiity Creditors Name
                                                                                           When was the debt incurred?
          PO BOX 81083
          Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
          CLEVELAND                                         OH            44181
          City                                             State         ZIP Code          D    Contingent
                                                                                           •    Unliquidated
          Who incurred the debt? Check one.                                                U Disputed
          U Debtor 1 only
          U Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
          D Debtor 1 and Debtor 2 only                                                     Ei Student loans
                 At least one of the debtors and another                                   CI Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
              U Check if this claim is for a community debt
                                                                                           U Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                  D    Other. Specify
              CI No
                 Yes




 Official Form 106E/F                                              Schedule EIF: Creditors Who Have Unsecured Claims                                                            page __ of
                   Case 21-57519-bem                           Doc 1    Filed 10/07/21 Entered 10/07/21 11:29:11                                                          Desc
                 BRITTNY
                                                                      Petition
                                                                     ROBINSON
                                                                                Page 39 of 59
Debtor 1                                                                                                       Case number Klemm)
                   Het Name         Middle Name          Leal Name


                Your NONPRIORITY Unsecured Claims — Continuation Page
                                                                                                               mr•Werame•SiaLle•CleelleclaireP/Miastesamel.e•••••••••••




After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                       Total claim



5.3
                                                                                       Last 4 digits of account number                                                                80.00
      PREFESSIONAL ACCOUNT MNGT                                                                                                                                              $_
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
      633 W. WISCONSIN AVE
      Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      MILWAUKEE                                        WI             53203
      City                                             Slate         ZIP Code          D        Contingent
                                                                                       •        Unliquidated
      Who incurred the debt? Check one.                                                C...1 Disputed
      O Debtor 1 only
      U Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      Li     Debtor 1 and Debtor 2 only                                                •        Student loans
      0      At least one of the debtors and another                                   Li Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      D Check if this claim is for a community debt
                                                                                       U        Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  D        Other. Specify_
      U No
      Li     Yes



5.4
                                                                                       Last 4 digits of account number                                        _                      200.00
      CFNA
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
      PO BOX 81315
      Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      CLEVELAND                                        OH             44181
      City                                             State         ZIP Code          •        C;ontingent
                                                                                           •    Unliquidated
      Who incurred the debt? Check one.                                                U        Disputed
      Li Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                         U    Student loans
      D At least one of the debtors and another                                            Li   Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                       D        Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  LI       Other. Specify
      LI No           •
      O Yes


                                                                                                                                                                                 10,000.00.
                                                                                           Last 4 digits of account number
      DREW ECKL FARNHAM
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
      235 PEACHTREE ST NE
      Number              Street
                                                                                           As of the date you file, the claim is: Check all that apply.
      ATLANTA                                           GA            30303
      City                                             Slate         ZIP Code              U    Contingent
                                                                                           •    Unliquidated
      Who incurred the debt? Check one.                                                    U    Disputed
      O Debtor 1 only
      Li     Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                         U    Student loans
      Li     At least one of the debtors and another                                       D    Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
      Li     Check if this claim is for a community debt
                                                                                           •    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                      D    Other. Specify
      Li No
      •      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                                 page _   of   _
               Case 21-57519-bem                         Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11                         Desc
                                                                 Petition Page 40 of 59
    Debtor 1   BRITTNY                                          ROBINSON                                Case number of /mown)
                 Fest Name      MIdele Name         Leal Name



               Add the Amounts for Each Type of Unsecured Claim


    6. Total the amounts of certain types of unsecured claims. This 'information is for statistical reporting purposes only. 28 U.S.C. § 159.
I      Add the amounts for each type of unsecured claim.




                                                                                               Total claim


                  6a. Domestic support obligations                                6a.                                      0.00
i Total claims
I from Part 1
                  6b. Taxes and certain other debts you owe the
                      government                                                  61?.                                     0.00

                  6c. Claims for death or personal injury while you were
                      intoxicated                                                 6c.                                      0.00

                  6d. Other. Add all other priority unsecured claims.
                      Write that amount here.                                     6d.        j..                           0.00



                   6e. Total. Add lines 6a through 6d.                            Be.
                                                                                                                           0.00



                                                                                                   Total claim


               6f. Student loans                                                  6f.                                      0.00
I Total claims
I from Part 2 6g. Obligations arising out of a separation agreement
                   or divorce that you did not report as priority
                   claims                                                         Gg.               $                      0.00
                   6h. Debts to pension or profit-sharing plans, and other
                       similar debts                                              6h.                                      0.00


                   6i. Other. Add all other nonpriority unsecured claims.
                       Write that amount here.                                     6i.              $              34,538.00


                   6j. Total. Add lines 6f through 6i.
                                                                                         [          $              34,538.00 1




    Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                  page
                Case 21-57519-bem                    Doc 1      Filed 10/07/21 Entered 10/07/21 11:29:11                                    Desc
                                                              Petition Page 41 of 59

 Fill in this information to identify your case:


 Debtor               BRITTNY                             ROBINSON
                      First Name            Middle Name                 Last Name

 Debtor 2
 (Spouse If filing)   First Name            Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)                                                                                                                            U Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/1.5

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        a No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        LI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



        Person or company with whom you have the contract or lease                             State what the contract or lease is for




        Name

        Number           Street

        City                            State      ZIP Code

2.2;
        Name

        Number            street

        City                            State      ZIP Code
2.31
        Name

        Number           Street

        City                            State      ZIP Code
2.4'
        Name

        Number           Street

        City                            State      ZIP Code

12.51
        Name

        Number            Street

        City                            State      ZIP Code


Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of
               Case 21-57519-bem                              Doc 1             Filed 10/07/21 Entered 10/07/21 11:29:11                                Desc
                                                                              Petition Page 42 of 59
 Fill in this information to identify your case:

 Debtor 1          BRITTNY                                                     ROBINSON
                     First Name                      Middle Name                   Last Name

 Debtor 2
 (Spouse, If filing) First Name                      Middle Name                   Last Name


 !kilted States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)
                                                                                                                                                   El   Check if this is an
                                                                                                                                                        amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                          12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
            No
       CI   Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       El No. Go to line 3.
       CI   Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            CI   No
            Li    Yes. In which community state or territory did you live?                                 . Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                  Number            Street



                  City                                             State                       ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                    Column 2: The creditor to whom you owe the debt

                                                                                                                   Check all schedules that apply:

 3.1
                                                                                                                        Schedule D, line
         Name
                                                                                                                        Schedule E/F, line
          Number           Street                                                                                       Schedule G, line

         CR_ _            _                                           State                     ZIP Code

 3.2
                                                                                                                    0   Schedule D, line
         Name
                                                                                                                        Schedule E/F, line
          Number           Street                                                                                       Schedule G, line

                                                                      Slate                     ZIP Code


                                                                                                                        Schedule D, line
          Name
                                                                                                                    0   Schedule E/F, line
          Number           Street                                                                                   CI Schedule G, line

                                                                      State                     ZIP Cope




Official Form 106H                                                              Schedule H: Your Codebtors                                                page 1 of
                 Case 21-57519-bem                       Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11                                  Desc
                                                                 Petition Page 43 of 59

 Fill in this information to identify your case:


 Debtor 1          BRITTNY                                       ROBINSON
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, If filing) First Name            Middle Name                  Lest Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                              Check if this is:
 (If known)
                                                                                                          0 An amended filing
                                                                                                          0 A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 1061                                                                                            MM / DD/ YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


1=11               Describe Employment


11. Fill in your employment
    information.                                                              Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                  El Employed                                   0 Employed
    employers.                                                              0 Not employed                                0 Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                       ASSOCIATE
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name                  HOME DEPOT

                                         Employer's address
                                                                           Number Street                                Number   Street




                                                                          ATLANTA                 GA
                                                                           City            State   ZIP Code             City                 State ZIP Code

                                         How long employed there?              5 YEARS                                    5 YEARS


TEM                Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse
      List monthly gross wages, salary, and commissions (before all payroll
      deductions). If not paid monthly, calculate what the monthly wage would be.            2.    $    3,542.20

 3. Estimate and list monthly overtime pay.                                                  3. + $           0.00      +$


 4. Calculate gross income. Add line 2 + line 3.                                             4.    $    3,542.20



Official Form 1061                                                 Schedule I: Your Income                                                         page 1
                  Case 21-57519-bem                  Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                                    Desc
                                                               Petition Page 44 of 59
Debtor 1          BRITTNY                                      ROBINSON                          Case number or known)
                   First Name   Middle Name        Last Name




                                                                                                For Debtor 1             For Debtor 2 or
                                                                                                                         non-filinq spouse

      Copy line 4 here                                                               4   4.     $    3,542.20

1 5. List all payroll deductions:

        5a. Tax, Medicare, and Social Security deductions                                5a.    $      665.58              $
        5b. Mandatory contributions for retirement plans                                 5b.    $      102.56              $
       5c. Voluntary contributions for retirement plans                                  6c.    $        0.00              $
        5d. Required repayments of retirement fund loans                                 5d.    $        0.00              $
        5e. Insurance                                                                    6e.    $      334.42              $
        5f. Domestic support obligations                                                 5f.    $        0.00              $
        5g. Union dues                                                                   5g.    $        0.00              $
        5h. Other deductions. Specify:                                                   5h. + $           0.00          + $
    6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.       6.     $    1,102.56              $

    7. Calculate total monthly take-home pay. Subtract line 6 from line 4.               7.     $    2,439.64              $

    8. List all other income regularly received:
        8a. Net income from rental property and from operating a business,
            profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total                             0.00            $
             monthly net income.                                                         8a.
        8b. Interest and dividends                                                       8b.    $          0.00
        8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
             Include alimony, spousal support, child support, maintenance, divorce                         0.00
             settlement, and property settlement.                                        8c.    $                          $
        8d. Unemployment compensation                                                    8d.    $          0.00            $
        8e. Social Security                                                              8e.    $          0.00            $
        8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                  8f.       $          0.00
        8g. Pension or retirement income                                                 8g.    $          0.00
        8h. Other monthly income. Specify:                                               Bh. + $           0.00          +$
     9. Add all other income. Add lines 8a + 8b + 8c + Bd + 8e + 8f +8g + 8h.             9.               0.00

    10. Calculate monthly income. Add line 7 + line 9.
                                                                                                $    2,439.64                                  $      2,439.64
        Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.

111. State all other regular contributions to the expenses that you list in Schedule J
•      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                          11.   $            0.00
i 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
i
i     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                 12.
                                                                                                                                               $      2,439.64
                                                                                                                                               Combined
                                                                                                                                               monthly income
; 13. Do you expect an increase or decrease within the year after you file this form?
        Ef   No.
        U    Yes. Explain:


Official Form 1061                                                 Schedule I: Your Income                                                         page 2
                       Case 21-57519-bem                   Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11                                  Desc
                                                                   Petition Page 45 of 59

  Fill in this information to identify your case:

  Debtor 1           BRITTNY                                 ROBINSON
                       First Name            Middle Name                 Last Name                     Check if this is:

  Debtor 2
  (Sr.. ise, if filing) First Name           Middle Name                 Last Name
                                                                                                       U An amended filing
                                                                                                       U A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: Northern District of Georgia                                     expenses as of the following date:

  Case number                                                                                              MM / DD / YYYY
   (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   le No. Go to line 2.
   U Yes. Does Debtor 2 live in a separate household?

                 • No
                 U Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                   Dependent's relationship to                 Dependent's    Does dependent live
   Du not list Debtor 1 and                     Yes. Fill out this information for   Debtor 'I or Debtor 2                       age            with you?
   Debtor 2.                                    each dependent
                                                                                                                                                O No
   Do not state the dependents'                                                      SON                                         3
                                                                                                                                                I' Yes
   names.
                                                                                                                                                O No
                                                                                     DAUGHTER                                    1
                                                                                                                                                0 Yes
                                                                                                                                                O No
                                                                                                                                                LI Yes
                                                                                                                                                U No
                                                                                                                                                D Yes

                                                                                                                                                U No
                                                                                                                                                1:1 Yes

3. Do your expenses include                 id No
   expenses of people other than
   yourself and your dependents?            D   Yes


Part 2:           Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 suck assistance and have included it on Schedule Your Income (Official Form 1061.)                                                  Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                               1,004.00
     any rent for the ground or lot.                                                                                       4.

      If not included in line 4:
      4a. Real estate taxes                                                                                                4a.       $                0.00

      4b. Property, homeowner's, or renter's insurance                                                                     4b.                        0.00
       4c. Home maintenance, repair, and upkeep expenses                                                                   4c.                        0.00
                                                                                                                           4d.                        0.00
       4d. Homeowner's association or condominium dues

Official Form 106J                                              Schedule J: Your Expenses                                                             page 1
                 Case 21-57519-bem                  Doc 1        Filed 10/07/21 Entered 10/07/21 11:29:11                               Desc
                                                               Petition Page 46 of 59

 Debtor 1        BRITTNY                                     ROBINSON                     Case number (if known)
                 First Name    Middle Name       Last Name




                                                                                                                             Your expenses

                                                                                                                                               0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                     5.

 6. Utilities:
      6a. Electricity, heat, natural gas                                                                           6a.                       150.00
      6b. Water, sewer, garbage collection                                                                         6b.                        75.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.                       100.00
      Scl.   Other. Specify:                                                                                       6d.                         0.00
 7. Food and housekeeping supplies                                                                                 7.                        200.00
 8. Childcare and children's education costs                                                                       8.                         25.00
 9. Clothing, laundry, and dry cleaning                                                                            9.                         25.00
10. Personal care products and services                                                                            10.                        25.00
11. Medical and dental expenses                                                                                    11.                         0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                             150.00
    Do not include car payments.                                                                                   12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.                         0.00
14. Charitable contributions and religious donations                                                               14.                         0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                          15a.                        0.00
      15b. Health insurance                                                                                        15b.                        0.00
      15c. Vehicle insurance                                                                                       15c.                      108.64
      15d. Other insurance. Specify:                                                                               15d.                        0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                     16.
                                                                                                                                               0.00

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                              17a.      $               577.00
      17b. Car payments for Vehicle 2                                                                              17b.      $                 0.00
      17c. Other. Specify:                                                                                         17c.      $                 0.00
      17d. Other. Specify:                                                                                         17d.      $                 0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                               18
                                                                                                                         '   $                 0.00
19    Other payments you make to support others who do not live with you.
      Specify:                                                                                                      19.      $                 0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                             20a.                        0.00
      20b. Real estate taxes                                                                                       20b.                        0.00
      20c. Property, homeowner's, or renter's insurance                                                            20c.                        0.00
      20d. Maintenance, repair, and upkeep expenses                                                                20d.                        0.00
      20e. Homeowner's association or condominium dues                                                             20e.                        0.00


Official Form 106J                                            Schedule J: Your Expenses                                                        page 2
              Case 21-57519-bem                     Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                        Desc
                                                              Petition Page 47 of 59

Debtor 1      BRITTNY                                       ROBINSON                        Case number (if (mown)
               First Name    Middle Name        Last Name




21. Other. Specify:                                                                                                  21.   +$      0.00

22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                                 22a.           2,439.64
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.               0.00
    22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.           2,439.64


2? Calculate your monthly net income.
                                                                                                                                2,439.64
   23a.    Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

   23b.    Copy your monthly expenses from line 22c above.                                                       23b.       $   2,439.64

   23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                                    0.00
           The result is your monthly net income.                                                                23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

   For example, do you expect to finish paying for your car loan within the year or do you expect your
   mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
   U Yes.        Explain here:




Official Form 106J                                           Schedule J: Your Expenses                                              page 3
                     Case 21-57519-bem                    Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11                               Desc
                                                                  Petition Page 48 of 59

Fill in this information to identify your case:

Debtor 1          BRITTNY                                      ROBINSON
                   First Name               Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name              Mkidle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number                                                                                                                                   Check if this is an
 (If known)                                                                                                                                   amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  111 you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                   secures a debt?                                   as exempt on Schedule C?

          Creditor's
                     PENNYMAC
                                                                                   O Surrender the property.                         0 No
          name:
                                                                                   0 Retain the property and redeem it.              El Yes
         Description of 3920 AUGUSTINE PLACE
                                                                                   El Retain the property and enter into a
         property
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:


         Creditor's
                           SANTANDER
                                                                                   0 Surrender the property.                         0 No
         name:
                                                                                      Retain the property and redeem it.             lEf Yes
          Description of 2017 MERCEDES C300
                                                                                      Retain the property and enter into a
          property
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:

          Creditor's                                                               0 Surrender the property.                         0 No
          name:
                                                                                   0 Retain the property and redeem it.              CI Yes
          Description of
          property
                                                                                   0 Retain the property and enter into a
                                                                                      Reaffirmation Agreement.
          securing debt:
                                                                                   0 Retain the property and [explain]:

          Creditor's                                                               0 Surrender the property.                         Li No
          name:__
                                                                                   0 Retain the property and redeem it.              0 Yes
          Description of
                                                                                   Li Retain the property and enter into a
          property
                                                                                      Reaffirmation Agreement.
          securing debt:
                                                                                   0 Retain the property and [explain]:


   Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
                 Case 21-57519-bem                Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11                               Desc
                                                          Petition Page 49 of 59
Debtor 1       BRITTNY                                ROBINSON                              Case number   (If known)
               First Name      Middle Name    Last Name




  Part 2:      List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                                Will the lease be assumed?

      Lessor's name:                                                                                                      No

                                                                                                                       1:1 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                   U No

                                                                                                                       0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                   0 No
       Description of leased
                                                                                                                       0 Yes
       property:



       Lessor's name:                                                                                                     No

                                                                                                                       0 Yes
       Description of leased
       property:



       Lessor's name:                                                                                                  U No

                                                                                                                       0 Yes
       Description of leased
       property:


       Lessor's name:                                                                                                  LI No

                                                                                                                       0 Yes
       Description of leased
       property:



       Lessor's name:                                                                                                     No

                                                                                                                       0 Yes
       Description of leased
       property:




   Part 3:       Sign Below



      Under        Ity of p rjury, I declar that I have indicated my intention about any property of my estate that secures a debt and any
      perso       roperty hat is subjec to an unexpired lease.




       Signature of Debtor 1                                     Signature of Debtor 2

                                                                 Date
       Da te                                                            MM/   DD /   YYYY




Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                              page 2
                  Case 21-57519-bem                  Doc 1      Filed 10/07/21 Entered 10/07/21 11:29:11                             Desc
                                                              Petition Page 50 of 59

 Fill in this information to identify your case:


 Debtor 1          BRITTNY                                ROBINSON
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                        U Check if this is an
                    (If known)                                                                                                        amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

Be al complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                 Your assets
                                                                                                                                 Value of what you own

I. Schedule A/B: Property (Official Form 106A/B)
    Ia. Copy line 55, Total real estate, from Schedule A/B
                                                                                                                                                     0.00


    lb. Copy line 62, Total personal property, from Schedule 1V8                                                                               4,300.00


   1c. Copy line 63, Total of all property on Schedule A/B                                                                                     4,300.00



FM             Summarize Your Liabilities



                                                                                                                                  Your liabilities
                                                                                                                                  Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                     $      191,653.00
    2a, Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                     0.00
    3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                                     $       34,538.00


                                                                                                        Your total liabilities              226,191.00



Part 3:         Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                               2,439.64
    Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J
                                                                                                                                               2,439.64




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                      page 1 of 2
                 Case 21-57519-bem                      Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                                Desc
                                                                  Petition Page 51 of 59

  Debtor 1      BRITTNY                                          ROBINSON                        Case number (if known)
                 First Name         Middle Name      Last Name




   Part 4:      Answer These Questions for Administrative and Statistical Records


   E   Are you filing for bankruptcy under Chapters 7, 11, or 13?

       1:1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       El Yes


   7. What kind of debt do you have?

       El Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
          family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.



 ' 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        3,542.20




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                          Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)
                                                                                                                            0.00


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                            0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                            0.00


       9d. Student loans. (Copy line 6f.)
                                                                                                                            0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as                          0.00
           priority claims. (Copy line 6g.)


       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$                   0.00


       9g. Total. Add lines 9a through 9f.                                                                                  0.00




Official Form 106Sum          Summary of Your Assets and Liabilities and Certain Statistical Information                                      page 2 of 2
                      Case 21-57519-bem                   Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11                                           Desc
                                                                  Petition Page 52 of 59
Fill in this information to identify your case:


Debtor 1           BRITTNY                                    ROBINSON
                   First Name               Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
 (If known)
                                                                                                                                                      Li Check if this is an
                                                                                                                                                         amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        Gif   No
        U     Yes. Name of person                                                                  Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that the are true and correct.




          Signature         ebtor 1                                        Signature of Debtor 2


          Date                                                             Date
                 MM/     DD      /   YYYY                                          MM/ DD /   YYYY




   Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
                Case 21-57519-bem                       Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11                                            Desc
                                                                Petition Page 53 of 59
 Fill in this information to identify your case:                                                              Check one box only as directed in this form and in
                                                                                                              Form 122A-1Supp:
 Debtor I         BRITTNY                                      ROBINSON
                    First Name                Middle Name               Last Name
                                                                                                                 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name               Middle Name               Last Name                             O 2. The calculation to determine if a presumption of
                                                                                                                   abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                                              Means Test Calculation (Official Form 122A-2).
 Case number                                                                                                  O 3. The Means Test does not apply now because of
 (if known)                                                                                                        qualified military service but it could apply later.



                                                                                                              U Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
aaditional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                   Calculate Your Current Monthly Income

       illi is your marital and filing status? Check one only.
 F 1. What
        RI Not married. Fill out Column A, lines 2-11.
        O Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        O Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              0      Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly Income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                 Column A            Column B
                                                                                                                 Debtor 1            Debtor 2 or
                                                                                                                                     non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                           $    3.542.40        $

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.
                                                                                                                           0.00
   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                              0.00      $

   5. Net income from operating a business, profession,
                                                                        Debtor 1           Debtor 2
      or farm
      Gross receipts (before all deductions)
        Ordinary and necessary operating expenses                       —$                 —$
                                                                                                       Copy
        Net monthly income from a business, profession, or farm           $         0.00 $             here+                0.00      $

   6. Net income from rental and other real property                    Debtor 1            Debtor 2
      Gross receipts (before all deductions)
        Ordinary and necessary operating expenses                       — $                — $
                                                                                                          y
        Net monthly income from rental or other real property              $        0.00     $         Cop
                                                                                                       he re+    $          0.00      $

  7. Interest, dividends, and royalties                                                                          $          0.00       $
   ....


Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                          page 1
                 Case 21-57519-bem                   Doc 1       Filed 10/07/21 Entered 10/07/21 11:29:11                                       Desc
                                                               Petition Page 54 of 59


C . btor 1        BRITTNY                                      ROBINSON                          Case number (if known)
                  First Name    Middle Name        Last Name


                                                                                                     Column A                 Column B
                                                                                                     Debtor 1                 Debtor 2 or
                                                                                                                              non-filing spouse
   8. Unemployment compensation                                                                                    0.00
        Do not enter the amount if you contend that the amount received was a benefit
        under the Social Security Act. Instead, list it here:             40
              For you
              For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.
                                                                                                                   0.00
    10. Income from all other sources not listed above. Specify the source and amount. Do
        not include any benefits received under the Social Security Act; payments made under
        the Federal law relating to the national emergency declared by the President under the
        National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
        disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
        against humanity, or international or domestic terrorism; or compensation, pension,
        pay, annuity, or allowance paid by the United States Government in connection with a
        disability, combat-related injury or disability, or death of a member of the uniformed
        services. If necessary, list other sources on a separate page and put the total below.
                                                                                                                   0.00          $
                                                                                                                   0.00          $
             Total amounts from separate pages, if any.                                                            0.00       +$

    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                              $ 3,542.40                                        $ 3,542.401
                                                                                                                                                      Total current
                                                                                                                                                      monthly Income

                   Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
         12a. Copy your total current monthly income from line 11.                                                        Copy line 11 here")     1   $     3,542.40 1
                  Multiply by 12 (the number of months in a year).                                                                                    X    12
         12b. The result is your annual income for this part of the form.                                                                 12b. 1      $    38,966.40 I

    13. Calculate the median family income that applies to you. Follow these steps:

         Fill in the state in which you live.                        Georgia

         Fill in the number of people in your household.             3

         Fill in the median family income for your state and size of household.                                                           13.         $ 72,594.00
         To find a list of applicable median income amounts, go online using the link specified in the separate
         instructions for this form. This list may also be available at the bankruptcy clerk's office.


    14. How do the lines compare?


        14a.        Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2




         14b.U       Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                     Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                        page 2
               Case 21-57519-bem                     Doc 1         Filed 10/07/21 Entered 10/07/21 11:29:11                                 Desc
                                                                 Petition Page 55 of 59

Debtor 1    BRITTNY                                            ROBINSON                            Case number (if known)
             First Name      Middle Name         Last Name



 1=1           Sign Below

              By signin          I de are under pe a         of perjury that the information on this statement and in any attachments is true and correct.



                   Signature of Debtor 1                                                          Signature of Debtor 2


                   Date                                                                           Date
                          MM / DD    / YYYY                                                              MM/DD /YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form ' 22A-2 and file it with this form.




 Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                     page 3
Case 21-57519-bem    Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11   Desc
                             Petition Page 56 of 59


PENNYMAC LOAN SERVICES I.
PO BOX 514387
LOS ANGELES, CA 90051

 SANTANDER
 PO BOX 660633
 DALLAS, TX 75266

DELTA COMMUNITY CREDIT
3250 RIVERWOOD PARKWAY
ATLANTA, GA 30339

 DISCOVER BANK
 PO B0X15316
 WILMINGTON, DE19850-5316

 CREDIT ONE BANK
 6801 S. CIMARRON ROAD
 LAS VEGAS, NV 89113

 CREDIT FIRST
 PO BOX 81315
 CLEVELAND, 011 44181

 SYNCB/AMERICAN SIGNATURE
 C/O PO BOX 965036
 ORLANDO, FL 32896

 BANK OF AMERICA
 PO BOX 982238
 EL PASO, TX 79998

 W.S.BADCOCK CORP.
 200 NPHOSPHATE BV
 MULBERRY, FL 33860

 SPRINT
 6200 SPRINT PKWY
 OVERLAND PARK, KS 66251

 DIVERSIFIED ADJUSTMENT SERVICE
 600 COON RAPID BLVD
 COON RAPIDS, MN 55433

 ALCOA BILLING CENTER
 3429 REGAL DR
 ALCOA, TN 37701
Case 21-57519-bem   Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11   Desc
                            Petition Page 57 of 59



 TIRES PLUS
 PO BOX 81083
 CLEVELAND, OH 44181

 WINDHAM PROFESSIONALS
 380 MAIN STREET
 SALEM, NH 03079

 CFNA
 PO BOX 81315
 CLEVELAND, OH 44181

 PROFESSIONAL ACCOUNT MANAGEMENT
 644 W, WISCONSIN AVENUE
 MILWAUKEE, WI 53202

 DREW ECKL FARNHAM
 235 PEACHTREE ST NE
 NORTH TOWER STE 1900
 ATLANTA, GA 30303
   Case 21-57519-bem       Doc 1     Filed 10/07/21 Entered 10/07/21 11:29:11   Desc
                                   Petition Page 58 of 59


U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01265799 (RS) OF 10/07/2021


ITEM     CODE   CASE          QUANTITY                         AMOUNT   BY

   1      7IN   21-57519              1                        $ 0.00   Currency
                Judge - unknown at time of receipt
                Debtor - BRITTNY ROBINSON


TOTAL:                                                         $ 0.00


FROM: Brittny Robinson
      3920 Augustine Place
      Rex, GA 30273




                                      Page 1 of 1
                  Case 21-57519-bem                  Doc 1      Filed 10/07/21 Entered 10/07/21 11:29:11                                 Desc
                                                              Petition Page 59 of 59
   Case Number: 21-57519                            Name: Robinson                                                           Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

1:El Individual - Series 100 Forms                                                           CI Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                         Petition Deficiencies:
 1=1 Complete List of Creditors (names and addresses of all creditors)                       O Last 4 digits of SSN
 O Pro Se Affidavit (due within 7 days, signature must be notarized,                         1=1 Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                         O Type of Debtor
 O Signed Statement of SSN (due within 7 days)                                               1=1 Chapter
                                                                                             0 Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                      O Statistical Estimates
   O Statement of Financial Affairs                                                          1=1 Venue
   O Schedules: A/B C D El F GHIJ LI J-2 (difkrent address for Debtor 2)                     O Attorney Bar Number
   O Summary of Assets and Liabilities
   1=1 Declaration About Debtor(s) Schedules
                                                                                                            Case filed via:
   1=1 Attorney Disclosure of Compensation                                               • Intake Counter by:
   1=1 Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                             Li Attorney
   O Disclosure of Compensation of Petition Preparer (Form 2800)                             El Debtor - verified ID 470-715-7597
   O Chapter 13 Current Monthly Income                                                      1=1 Other-copy of ID:
   Li Chapter 7 Current Monthly Income
   O Chapter 11 Current Monthly Income                                                   O Mailed by:
   O Certificate of Credit Counseling (Individuals only)                                    CI Attorney
   O Pay Advices (Individuals only) (2 Months)                                              0 Debtor
   1=1 Chapter 13 Plan, complete with signatures (local form)                               El Other:
   CI Corporate Resolution (Business Ch. 7 & 11)
                                                                                        O Email [Pursuant to General Order 45-2021, this
   Ch.11 Business                                                                       petition was received for filing via email]
   LI 20 Largest Unsecured Creditors
   1=1 List of Equity Security Holders                                                              History of Case Association
   O Small Business - Balance Sheet                                                      Prior cases within 2 •ars: 20-71810
   D Small Business - Statement of Operations
   O Small Business - Cash Flow Statement
   1=1 Small Business - Federal Tax Returns                                              Signature:
                                                                                         Acknowledgment of receipt            I eficiency Notice
   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   O Statement of Intent — Ch. 7 (Individuals only)

         Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/banlcruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
           Paid $ 0        El 2g-Order Granting       El 3g-Order Granting 10-day finitial payment of $ 78.00 due within 10 days)
        CI 2d-Order Denying with filing fee of $_____ due within 10 days El IFP filed (Ch.7 Individuals Only)
        CI No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                     **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000

 Intake Clerk:    R.Smith                   Date: 10/7/21                        Case Opener:                                        Date:
